United Stale Dsbricys couch

S200 44-
Neror Aldanqg _

BOOS Clan Bridge Ka Suite 202

Wester Distvich OF VUiyarwiqQ
Bss Ww. Main S¥cter

ClrarloHtesvuille, VA 7272902

Dear’ MS on Mrs

ft W +hat
rity) , ro \e+ You fer
Date a nag be OF Hat tetvement lag
—HE_am 0 yeern DE

ber OF Fitzgerald setiertr cba

TJ Aon'\ remember aye account +.

Bur + clo hove my last a
Lt wylzin Wave A Class Counge\ tad =
Company Ke lly Guzzo, P&L -

=E wyi LAe
Fate Fok ,VA 22030. f Will hot bea

ia eek.
top bys ico ly be incourt +a day

aK.
pecause TF (Le in+tnesrore SF Fora

> Lo
ZF aprericiat2 tHe ye U gv¥YS Light vO
my rights.
co? Than Yo UW
Ber reap D9
ip
Nesov Atdano

CLERK'S OFFICE U.S. DISTRICT. COURT ‘|
A). AT ana ewe VA |
43S Alma = 5 =
-L @ichey, FL 34GS52 ~ SEP 10 2024
_Mevo Pork @ichey, ee
| ——— \ a _ DEPUTY CLERK _
Cher HOF Ye Couch
Vskor AB rin nGQ

Ane 2, / TAMPA FL 335
a ~~ SAINT PETERSBURG FL
Ue 4 Ine 3! Sg SEP 27074 PmMa4 i

ew R Fort Kithyy FC

cl STATE

24S 2-

ZIP CODI

Clerk of He Carri Uncred
csholtes District Court western
District of Uirgin'G JSS w.
Macnst Charlottes ule. YA 27403

Want y w ih wy \ Ww i i ari \ i 4 i ii lish ii" i wy

AF (10/15)

